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                    IN THE UNITED STATES BANKRUPTCY COURT
                 NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

IN THE MATTER OF                    )
                                    )
VICKI ESRALEW                       )
                                    )
      Debtor,                       )
____________________________________)
                                    )                 No. 04 A 3774
ROLLIN SOSKIN, et. al.              )
                                    )                 Judge Goldgar
             Plaintiffs             )
                                    )
             v.                     )
                                    )
VICKI ESRALEW                       )
                                    )
             Defendant              )

        DEFENDANT’S OBJECTION AND MOTION IN LIMINE TO EXCLUDE
                     PLAINTIFFS’ EXHIBITS 20 AND 24

       Defendant, VICKI ESRALEW (“Esralew”), by and through her attorneys, ASHMAN &

STEIN, respectfully objects to and moves this Honorable Court for the entry of an Order in limine

excluding Plaintiffs’ Exhibits 20 and 24.

       Plaintiffs allege in their adversary complaint that Esralew fraudulently induced Plaintiffs to

invest in Kids Count; and also committed fraud and a breach her fiduciary duties with respect to the

operation of Kids Count subsequent to Plaintiffs’ investment. In particular, Plaintiffs allege that

Esralew improperly transferred Kids Count’s assets to Vickilew, Inc. (“Vickilew”) and Good Sector,

L.L.C., (“Good Sector”), companies in which Esralew subsequently became affiliated .

       Plaintiffs’ Exhibit 20 is identified as a “Vickilew Confidential Private Placement

Memorandum” dated January 17, 2002, more than three years after the Plaintiffs claim that Esralew



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fraudulently induced them into making an investment in Kids Count and more than two and a half

years after the date the Plaintiffs claim they had no further involvement in Kids Count’s business.

[Exhibit A: Soskin Dep. p. 103] Plaintiff’s Exhibit 24 consists of the joint Federal Income Tax

returns of Defendant Esralew and her husband for 2002, 2003 and 2004, prepared in February of

2003, 2004 and 2005, respectively, each of which indicate that Esralew and/or her husband received

wages and benefits from Vickilew and/or Good Sector in those years.

       Esralew has been, and remains, willing to stipulate that after January 2001, she caused Kids

Count to license certain property of Kids Count to Vickilew and, then, to Good Sector. Indeed, she

offered to enter into that stipulation on November 15, 2006. [Exhibit B: § 96]. However, Plaintiffs

failed or refused to so stipulate. Likewise, Esralew is willing to stipulate that Vickilew and Good

Sector paid her and her husband the wages shown to have been paid to them in their joint Federal

Income Tax returns for 2002, 2003 and 2004.

       There is absolutely no reason to adduce evidence at trial with respect to facts to which

Esralew has been, and is, willing to stipulate. Moreover, with the exception of business transactions

among Kids Count, Vickilew and Good Sector, the introduction of any evidence concerning

Vickilew and Good Sector is both irrelevant and would not result in anything more than undue delay

and a waste of time. If Plaintiffs are allowed to present such evidence, the result would be a mini-

trial on insignificant issues. Accordingly, such evidence, including Plaintiff’s Exhibits 20 and 24,

should be excluded. See Johnson v. Yellow Freight System, Inc., 734 F.2d 1304, 1309-10 (8th Cir.

1984), cert. Denied, 469 U.S. 1041 (1984) (where value of evidence is minimal, a court may weigh

the value of that evidence against the fact that to admit it would prolong the trial).

       For the reasons set forth above, Plaintiff respectfully requests an Order in limine precluding


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Plaintiffs and their counsel from introducing Plaintiffs’ Exhibit 20 and 24 into evidence and, further,

barring Plaintiffs from referring to, questioning any witness about, commenting upon, or attempting

to introduce into the record in any way, evidence of any business ventures of Vickilew and /or Good

Sector which are not related to Kids Count.

                                                                                        Respectfully submitted,

                                                                              BY: /s/Carey M. Stein
                                                                                   One of Plaintiff's attorneys




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